                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                   CHARLOTTE DIVISION
                                 CIVIL NO. 3:18-CV-646-DSC

 UNITED STATES OF AMERICA,

                 Plaintiff,

                 v.                                           CONSENT ORDER FOR
                                                              THIRD PARTY CLAIM
 APPROXIMATELY $252,140.00 IN US
 CURRENCY SEIZED FROM DARREN
 LENNARD COLEMAN ON JUNE 27, 2016
 AT CHARLOTTE-DOUGLAS
 INTERNATIONAL AIRPORT.
 _______________________________________
 CLAIM OF INTERNATIONAL HUMAN
 RIGHTS COMMISSION


       THIS MATTER is before the Court by consent of the United States of America, by and

through William T. Stetzer, Acting United States Attorney for the Western District of North

Carolina and Claimant International Human Rights Commission (“IHRC”), through counsel,

pursuant to 18 U.S.C. § 983(d) and Rule G of the Supplemental Rules for Admiralty or Maritime

Claims and Asset Forfeiture Actions. The Government and IHRC have agreed to this Consent

Order as a final adjudication and settlement of all matters with regard to forfeiture of the property

identified in this case (hereafter, “the Property”).



       The parties have STIPULATED AND AGREED and the COURT FINDS AS

FOLLOWS:

       1.       The Government has alleged in the Complaint for Forfeiture In Rem (Doc. 1) that

the Property, consisting of approximately $252,140 in seized currency, is proceeds of drug

trafficking and/or was used or intended to be used to facilitate drug trafficking, and/or is property

                                                   1

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involved in an unlicensed money transmitting business. Upon notice of this Complaint, IHRC,

Robert Shumake, and Darren Coleman filed Claims for the Property. Coleman withdrew his Claim

and this Court struck Shumake’s Claim for lack of standing. Only IHRC’s Claim remains pending.

         2.       Although factual disputes remain between the Government and IHRC, following

discussions and exchange of information regarding the case the parties have agreed to stipulate

that $126,070 of the Property shall be turned over to IHRC’s counsel for payment of attorney’s

fees and costs, and for charitable purposes determined by IHRC.                  IHRC and Shumake agree to

waive any and all interest in the remaining $126,070 of the Property and to the forfeiture of

$126,070 of the Property.

         3.       The Government agrees to, upon issuance of this Consent Order and a Default

Judgment as to the rest of the world, issue a payment of $126,070 of the Property to IHRC, through

its counsel.1 IHRC and Shumake agree to release and forever discharge their interests in all

remaining Property in this case.

         4.       The payment to counsel for IHRC shall be in full settlement and satisfaction of all

potential claims by IHRC and Shumake in this action and all potential claims resulting from the

incidents or circumstance giving rise to this action.

         5.       IHRC and Shumake agree not to pursue against the United States any rights that

they may have to the Property in this case except as otherwise specified herein.



1
  IHRC, Shumake and their counsel understand and agree that settlements of forfeiture cases and Government
payments generally are processed through the Treasury Offset Program (“TOP”), a system for the Government to
collect moneys owed before Treasury Department issues payments to recipients. IHRC understands that the
Government will make payment pursuant to the terms of this Consent Order, to International Human Rights
Commission, care of counsel, Michael and Burch. IHRC understands that, if IHRC or Michael and Burch owe
outstanding tax obligations or other obligations collectible through TOP, TOP may offset any amount paid pursuant
this settlement so as to satisfy those obligations. IHRC and its counsel understand that the U.S. Attorney’s Office,
Western District of North Carolina, does not control or know which obligations, if any, related to IHRC or Michael
and Burch, are entered into TOP and cannot control the offset process, but that, if an offset occurs, the Department
of Treasury will provide appropriate TOP notices and procedures to IHRC and its counsel.

                                                         2

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        6.       IHRC and Shumake understand and agree that the United States reserves the right

to terminate the forfeiture action at any time.

        7.       The Government, IHRC, and Shumake waive any rights to further litigate between

each other in this forfeiture action.

        8.       Unless specifically directed by an order of the Court, IHRC shall be excused and

relieved from further participation in this action.



        IT IS THEREFORE ORDERED THAT:

        Based upon the stipulation of the parties it is hereby recognized that IHRC has an interest

in $126,070 of the Property. It is therefore ordered that upon issuance of this Consent Order and

a Default Judgment as to the remainder of the world in this action, the United States shall pay

$126,070 to IHRC through counsel. Further, IHRC’s Claim for the remaining $126,070 is hereby

dismissed. The Government and IHRC shall bear their own fees and costs2 incurred in this federal

forfeiture action including attorneys’ fees.

        SO ORDERED.

                                         Signed: April 12, 2021




2
  Notwithstanding any other agreements herein, each party agrees, as provided in the Federal Rules, to pay to the
respective expert witnesses any amounts due for any expert costs and fees from any expert witness depositions that
the party noticed and conducted.

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ON MOTION OF AND
BY CONSENT OF THE PARTIES:

William T. Stetzer
ACTING UNITED STATES ATTORNEY

_________________________________         __________________
Benjamin Bain-Creed                       Date
J. Seth Johnson
Assistant United States Attorneys




_________________________________         _________________
International Human Rights Commission     Date
Claimant (by and through its authorized
Representative Robert S. Shumake)

_________________________________         _________________
Robert S. Shumake                         Date
Former Claimant
_________________________________         __________________
David Michael, Esq.                       Date
Edward Burch, Esq.
Attorneys for Claimants




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